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                         United States District Court
                          Northern District of Texas
                             Fort Worth Division
 STATE OF TEXAS,
    Plaintiff,
 v.                                           Case 4:21-cv-00579-P
 JOSEPH R. BIDEN, JR., et al.;
    Defendants.

                         Texas’s Consolidated
   Reply Supporting Its Renewed Motion for Preliminary Injunction
           and Opposition to Defendants’ Motion to Dismiss
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                                 Introduction
    The Defendants’ opposition to Texas’s preliminary-injunction motion is less

 notable for what it says than for what it does not: It leaves nearly every fact

 supporting Texas’s motion for a preliminary injunction unchallenged. Its

 citations do not establish the points that the Defendants think they do. And its

 legal arguments boil down to an assertion of a right to exercise discretion that

 does not exist.

    Texas has standing to bring every claim it has asserted, and the Court has

 jurisdiction to hear each of them. There are no legal barriers to the Court’s

 considering either the claims or Texas’s request for a preliminary injunction,

 and the Defendants cannot overcome the inferences that their own reports to

 the public establish about their violations of the immigration laws that

 mandate tasks that they are refusing to perform.

    Texas is entitled to a preliminary injunction holding the Defendants to take

 care to faithfully enforce the laws that they have decided they would rather

 not. It respectfully requests that the Court issue that injunction.

                                      Facts

    The Defendants do not challenge—and indeed admit to—many of the facts

 Texas cited to support its request for a preliminary injunction.

 A. Uncontested facts regarding the Defendants’ general public-
    health operations.

    •   Legal entry of individuals from thirty-three countries across the world,

        including almost all of the nation’s NATO allies, has been suspended

        based on the threat of COVID-19 (ECF No. 68 at 6);

    •   The Defendants, through their own orders, acknowledge “that the risk

        of continued transmission and spread of … COVID-19 between the



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        United States and Mexico poses an ongoing ‘specific threat to human life

        or national interests’” that justifies the suspension of all non-essential

        legal entry into the United States from Mexico (Id. at 6–7);

    •   The Defendants, through their own regulations and orders, acknowledge

        a “serious danger” that COVID-19 will be spread at Border Patrol

        stations, at ports of entry, and “into the interior of the country as a

        whole” if aliens covered by the Title 42 process are introduced into the

        country (ECF No. 79 at 4);

    •   One effect of that introduction would be exhaustion, or at least reduced

        availability of, “local and regional healthcare resources” and “further

        expos[ure of] local and regional healthcare workers to COVID-19” (Id. at

        4–5);

    •   The Defendants, the day after the stay preventing it from doing so was

        lifted, ordered the Border Patrol not to subject unaccompanied minor

        aliens to Title 42 (ECF No. 68 at 25);

    •   The Acting Commissioner of CBP, in a “significant departure from well-

        established practices and protocols,” did not include the Chief of the

        Border Patrol “in detailed briefings and deliberations to facilitate

        informed decision-making” on “a significant policy decision such as this,”
        nor did he explain to the Border Patrol’s chief the reason for the order

        to stand down from applying Title 42 to those aliens (Id.);

    •   CDC guidance recommends a 14-day quarantine for unvaccinated

        people who “have been in close contact … with someone who has COVID-

        19” (Id. at 4);

    •   The Defendants do not follow that 14-day recommendation for

        unaccompanied minor aliens (ECF No. 79 at 11);




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    •   The Defendants do not supervise COVID-positive illegal immigrants

        whom it releases into the country (Id. at 13); and

    •   The Defendants, indeed, do not detain illegal aliens until they can

        determine whether the aliens are COVID-positive, with DHS’s assistant

        Secretary for Border and Immigration Policy declaring under oath not

        that family-unit aliens are required to test negative for COVID-19 before

        being released from CBP custody, but that those aliens “are provided

        testing either prior to” or after release (ECF No. 80 at 206).

 B. Uncontested facts regarding the particular conditions
    surrounding the Defendants’ release of illegal aliens.

    •   Through July of this fiscal year, the Defendants released into the

        country roughly 225,000, or 96%, of the family-unit aliens it encountered

        (ECF No. 68 at 12–13), a number that presumably includes the family

        of four COVID-positive illegal immigrants, who were sitting maskless,

        coughing and sneezing in a booth in a Whataburger, rather than being

        supervised by DHS’s nongovernmental “partner” (Id. at 19);

    •   Hidalgo County declared a state of disaster due to the number of illegal

        immigrants, “including individuals that are positive for COVID-19,”

        that the Defendants had released into the county, which had

        “overwhelmed” local governments and hospitals (Id. at 18–19); and

    •   Webb County declared a state of disaster as a result of the Defendants’

        “transportation of large numbers” of illegal immigrants into the county,

        “overwhelm[ing] local resources and services,” due in part to the fact

        that, in the estimation of the City of Laredo, 40 to 50 percent of the

        aliens were COVID-positive (Id. at 20).




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 C. Facts arising since Texas renewed its motion.
     •   The Defendants in September released into the United States more than

         12,000 Haitians who had crossed the southwest border—without first

         testing them for COVID-19. Interview of Secy. Alejandro Mayorkas, FOX

         NEWS SUNDAY (aired Sept. 26, 2021); 1 Adam Shaw, Mayorkas Says

         Haitian migrants under Del Rio bridge were not tested for COVID-19,

         FOX NEWS (Sept. 24, 2021). 2

     •   As it was releasing those thousands of untested illegal aliens into the

         country, the Defendants simultaneously announced plans to ease

         restrictions on legal travel from the thirty-three countries that include

         most of the nation’s NATO allies—but only for persons who are fully

         vaccinated against COVID-19. See David Shepardson and Andrea

         Shalal, U.S. to relax travel restrictions for vaccinated foreign air

         travelers in November, REUTERS (Sept. 20, 2021). 3

     •   In August 2021, ICE’s encounters with family-unit members on the

         southwest border climbed to 86,487, up roughly 3,500 from July. That

         was the month after the Court heard argument on Texas’s first

         preliminary-injunction motion, which may account for the Defendants’

         increasing the number of those aliens subject to Title 42 by roughly

         6,000, rapidly expelling 16,240, or 18.8% of them—the first percentage

         increase in Title 42 expulsions of family-unit members in this fiscal



 1   Transcript available    at   http://www.foxnews.com/transcript/fox-news-sunday-on-
     september-26-2021.
 2   Available at http://www.foxnews.com/politics/mayorkas-migrants-del-rio-bridge-not-
     tested-covid-10.
 3   Available      at     http://www.reuters.com/world/uk/us-relax-travel-restrictions-
     passengers-uk-eu-november-source-2021-09-20.


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        year. 4 See ECF No. 68 at 12 (showing percentage of family-unit aliens

        expelled under Title 42 falling each month, from 84.6% in November

        2020 to 12% in July 2021).

             Texas has standing to bring each of its claims,
       the Court has jurisdiction to hear each of those claims, and
            each claim is one on which relief can be granted.

 A. Texas has standing to bring its claims.

     Texas has alleged facts showing that it has suffered concrete injuries, both

 to its own financial interests and to its interests parens patriae. Those injuries

 are fairly traceable to the Defendants’ actions. And those grievances are

 redressable through a decree that the Court has the power to issue. See Lujan

 v. Defenders of Wildlife, 504 U.S. 555, 562 (1992) (elements of standing); Alfred

 L. Snapp & Son, Inc. v. Puerto Rico ex rel. Barez, 458 U.S. 592, 607 (1982)

 (parens patriae standing). Especially given the “special solicitude” to which

 Texas is entitled when it seeks to “protect[] its quasi-sovereign interests,” it

 has established standing to bring this suit. See Mass. v. EPA, 549 U.S. 497,

 520 (2007).

     1. Texas asserts particular financial grievances.
     Texas’s suit is no mere complaint that the Defendants’ actions will increase

 the number of people in the State—a “generalized contention[] that ‘illegal

 immigration is costing the state money,’” in their words. ECF No. 79 at 16

 (quoting Crane v. Johnson, 783 F.3d 185, 202 (5th Cir. 2015). Rather, it attacks

 discrete federal-government action—the exemption of certain persons from the

 Title 42 process, whether by published order or de facto policy; the refusal to

 4   Statistics drawn from Sw. Border Land Encounters, U.S. CUSTOMS AND BORDER PROT.,
     https://www.cbp.gov/newsroom/stats/southwest-land-border-encounters (last visited
     Oct. 8, 2021).


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 comply with statutory mandates to detain certain illegal aliens. See ECF No.

 62 at ¶¶ 75–85 (exemption of minors from Title 42); ¶¶ 83–85 (de facto

 exemption of family-unit members from Title 42); ¶¶ 86–91 (statutory

 detention requirements); ¶¶ 92–93 (statutory limits on parole authority);

 ¶¶ 96–98 (Constitutional requirement to faithfully execute statutes). Texas

 describes the particular costs that these actions impose on it: It is not some

 general increase in the number of people in Texas that imposes some general

 increase in the amount of money that Texas must spend. Rather, as Texas

 described, DHS pays for illegal aliens’ medical care only while they are in

 DHS’s custody; once DHS releases those aliens into the State, through

 Emergency Medicaid and other programs that reimburse healthcare providers

 for otherwise uncompensated services, it is Texas that pays those costs—to the

 estimated tune of $80 million per year. ECF No. 68 at 21–22.

    While Texas also incurs costs, for example, to furnish drivers licenses,

 furnish education, and incarcerate illegal aliens while they are present in the

 United States, see ECF No. 68 at 22, it is the healthcare costs that are most

 relevant. After all, it is the Defendants themselves who point out that “Title 42

 orders are not immigration actions” but are instead “public health

 measures….” ECF No. 79 at 16. Texas’s expenditures to treat illegal aliens for
 COVID-19 infections address the same public-health crisis. As Texas already

 pointed out, one need not take the State’s word for it. The Defendants

 themselves justify their actions by referring to the impact that increased illegal

 immigration, particularly by illegal immigrants with COVID-19, has on the

 resources, healthcare, and public-health systems of “cities and states … located

 at or near U.S. borders[.]” See ECF No. 68 at 18; see also, e.g., ECF 69 at Appx.

 8, 22–23, 75. And that justification is amply borne out by the emergency




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 disaster declarations issued by at least two Texas border counties. ECF 69 at

 Appx. 52–53, 63–65.

     2. Texas asserts particular parents patriae grievances.
     Just as it has alleged offenses against its financial interests, Texas has

 alleged offenses against its quasi-sovereign interests as parens patriae. One of

 the quasi-sovereign interests entitling a State to sue to “vindicate the rights of

 [its] citizens-at-large” is its “‘interest in the health and well-being—both

 physical and economic—of its residents in general.’” Texas v. United States, No.

 6:21-cv-16, ___ F. Supp. 3d ___, 2021 WL 3683913, at *13 (S.D. Tex. Aug. 19,

 2021) (quoting Snapp, 458 U.S. at 607). “One helpful indication in determining

 whether an alleged injury to the health and welfare of its citizens” satisfies

 that test is whether the State, “if it could, would likely attempt to address [the

 injury] through its sovereign lawmaking powers.” Snapp, 458 U.S. at 607.

     If Texas has no interest in protecting its residents against infection with

 one of the most communicable viruses known to man, which according to the

 CDC itself has killed more than 700,000 Americans and nearly 70,000 Texans,

 it is hard to imagine when it would ever have an interest in Texans’ physical

 health and well-being. See Daily Updates of Totals by Week and State, COVID-

 19 Death Data and Resources, NATL. CTR. FOR HEALTH STATISTICS (visited Oct.

 8, 2021). 5 And, indeed, a State’s power to “enact quarantine laws and ‘health

 laws of every description’ … as will protect the public health” was a “settled

 principle[]” at the turn of the 20th Century.” Jacobson v. Massachusetts, 197

 U.S. 11, 25 (1905) (quoting Gibbons v. Ogden, 9 Wheat. [22 U.S.] 1, 203 (1824)).

 As described above, the disaster declarations of Texas counties and the

 Defendants’ own invocations of the risk of further spread of COVID-19 due to

 5   Available at https://www.cdc.gov/nchs/nvss/vsrr/covid19/index.htm.



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 increased illegal immigration establish both the existence of Texas’s quasi-

 sovereign interest and the direct threat that the Defendants’ actions pose to it.

    3. Texas can trace its injuries to the Defendants’ actions.
    As described above, the Defendants’ actions are directly traceable to Texas’s

 injuries, both financial and quasi-sovereign. Contra the Defendants’ argument,

 this case is not California v. Texas, 141 S. Ct. 2104 (2021). There, any potential

 injury depended on what third parties decided to do—if none of the affected

 individuals chose to enroll in Medicaid, Texas would suffer no injury. Not so

 here. Were the Defendants to rapidly expel all those to whom Title 42 could be

 applied, it would remove the risk of those persons’ spreading their own COVID-

 19 infections to Texans or becoming vectors for the further spread of COVID-

 19 from some other person to Texans. Likewise, were the Defendants to detain

 all persons illegally arriving at the southwest border until they are determined

 not to carry the COVID-19 virus, that would remove the risk of those persons’

 spreading their own COVID-19 infections to Texans. Texas’s injuries are

 directly traceable not to aliens’ choices to cross the southwest border illegally,

 but to the Defendants’ choice of how to respond.

    4. Texas’s injuries are redressable through a decree from the
       Court.
    Finally, Texas’s injuries can be redressed through an injunction that the

 Court is authorized to grant. Texas described immediately above how the

 Defendants’ actions could either eliminate or ameliorate its injuries; an

 injunction from the Court requiring those actions would thus redress those

 injuries. The only question is whether the Court has the power to grant such

 an injunction. It does.




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    Neither the statutory detention requirements nor the Title 42 program

 itself invest so much discretion in the Defendants that the Court lacks a

 standard by which their actions can be judged. See 5 U.S.C. § 701(a)(2); Heckler

 v. Chaney, 470 U.S. 821, 830 (1985). But to honor the APA’s basic presumption

 of judicial review, that exception is read “quite narrowly[.]” Dept. of Homeland

 Sec. v. Regents of the Univ. of Calif., 140 S. Ct. 1891, 1905 (2020) (quoting

 Weyerhaeuser Co. v. U.S. Fish & Wildlife Svc., 139 S. Ct. 361, 370 (2018)). That

 narrow exception does not apply here.

    First, the question is not over the statute, 42 U.S.C. § 265, empowering the

 CDC to promulgate the Final Rule, 42 C.F.R. § 71.40. Once the Final Rule was

 adopted, the CDC was limited not just by the statute, but by the Final Rule

 itself—and the Final Rule, by mandating what a Title 42 order must address,

 see 42 C.F.R. § 71.40(c), establishes the parameters for what the CDC must

 consider. Further, by establishing that the CDC may “consult with any State

 and local authorities” as deemed “appropriate in [its] discretion,” it sets forth

 an obligation to justify why that discretion was, or was not, exercised. See

 Regents, 140 S. Ct. at 1913–1915 (secretary had discretion to determine how

 much weight to give reliance interests, but was required to explain her decision

 not to).
    Second, the Final Rule and the statute each set forth sufficient criteria by

 which the Defendants’ actions can be judged. By announcing in the Final Rule

 the “general policy by which its exercise of discretion will be governed,” INS v.

 Yang, 519 U.S. 26, 32 (1996), the Defendants bound themselves to that policy.

 The Court can determine whether they adhered to that policy and, if not,

 whether they did so arbitrarily and capriciously. Further, the Court can

 determine whether the Defendants’ promulgations of the July and August

 Orders were the result of “appli[cation] of an incorrect legal standard.” Gen.


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 Land Office v. U.S. Dept. of the Interior, 947 F.3d 309, 320 (5th Cir. 2020);

 Stewart v. Azar, 313 F. Supp. 3d 237, 262 (D.D.C. 2018). And it can, of course,

 determine whether the Defendants considered all relevant factors or

 considered irrelevant factors in reaching its conclusions. See, e.g., Regents, 140

 S. Ct. at 1913–1915.

 B. Texas states a notice-and-comment claim.
    Contrary to the Defendants’ assertion, the July Order and the August Order

 were required to go through the APA’s standard notice-and-comment

 procedures. The July and August Orders were not enforcement actions; they

 did not select persons to be removed from the country or decide who would or

 would not be placed into removal proceedings. Nor did they “advise the public

 of the [Defendants’] construction” of the Final Rule. Perez v. Mortg. Bankers

 Assn., 575 U.S. 92, 97 (2015). Instead, they set announced the Defendants’

 determinations and set forth the parameters that governed when particular

 persons would be placed into removal proceedings and what would happen once

 those proceedings had commenced. See ECF No. 62 at ¶¶ 77–78. They were,

 that is, legislative rules—rules that “impose legally binding obligations or

 prohibitions on regulated parties” rather than “merely interpret[ing] a prior

 statute or regulation[.]” Natl. Mining Assn. v. McCarthy, 758 F.3d 243, 251–
 252 (2014). And those rules require notice and comment. 5 U.S.C. § 553(b).

    That the October Order was issued without notice and comment is beside

 the point. For one, that order is not being challenged. For two, at that stage in

 the pandemic, such an order, despite not including the requisite language, was

 arguably justified by the APA’s good-cause exceptions. 5 U.S.C. § 553(b)(B),

 (d)(3). But there was no such justification for the Defendants’ decision to put

 Title 42 procedures on hold for unaccompanied minor aliens. The Defendants



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 decided on that policy the day after the D.C. Circuit lifted a stay that would

 have allowed them to resume applying Title 42 to those minors, did not

 announce the decision for several weeks, and then took five months to

 announce their (retroactive) justification. See ECF No. 62 at ¶¶ 49–51, 79; ECF

 No. 68 at 25–26.

 C. Texas’s mandatory-detention claims are not precluded.
    As Texas described in its First Amended Complaint, the Defendants are

 required to detain aliens claiming asylum until their claims have been

 adjudicated, and they are required to detain aliens for purposes of determining

 whether those aliens have a communicable disease of public-health

 significance. ECF No. 62 at ¶¶ 27–33, citing 8 U.S.C. §§ 1182, 1222(a),

 1225(a)(1). Neither of those claims is subject to claim preclusion.

    An assertion of claim preclusion—that a party is barred from bringing a

 claim because it was decided in a previous suit—requires four elements, the

 fourth of which is that the same claim was involved in both actions. See Hou.

 Profl. Towing Assn. v. City of Houston, 812 F.3d 443, 447 (5th Cir. 2016).

 Whether the same claim was involved in both actions depends on whether the

 two cases are based on the same nucleus of operative facts. Hou. Profl. Towing,

 812 F.3d at 447. (cleaned up). That, in turn, depends on a pragmatic
 determination that weighs whether the facts are related in time, space, origin,

 or motivation; whether they form a convenient trial unit; and whether treating

 them as a unit conforms to the parties’ expectations. Id. (quoting Petro-Hunt

 LLC v. U.S., 365 F.3d 385, 396 (5th Cir. 2004) and RESTATEMENT (SECOND) OF

 JUDGMENTS § 24(2)). It is that element on which the Defendants’ assertion

 founders, because while this case and the Texas v. Biden case to which the




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 Defendants point both involve the detention of aliens, they are not based on

 the same nucleus of operative facts.

    In this case, Texas challenges the Defendants’ failure to detain asylum

 applicants pending completion of their asylum proceedings and to detain aliens

 pending the determination of whether they are inadmissible due to carrying

 COVID-19. On the other hand, Texas v. Biden—tried by another bench of this

 Court—involved suspension of the Migrant Protection Protocols, a program

 under which many aliens attempting to cross into the United States from

 Mexico to claim asylum were required to remain in Mexico pending their

 asylum determinations. See ECD No. 80 at Appx. 50–58 (Texas v. Biden

 complaint describing program). The requirement to detain aliens pending their

 asylum determinations was relevant there only because Section 1225 also

 allows the Defendants to comply with it by returning asylum applicants to a

 neighboring country—and the Defendants, who admitted they could not

 comply with Section 1225’s detention mandate, were therefore willfully

 violated Section 1225 by willfully ending their ability to return asylum

 applicants to Mexico. Id. at Appx. 70–72, 118–120.

    This case does not arise out of the Defendants’ cancellation of the Migrant

 Protection Protocols. Nor did that case concern the Defendants’ failure to
 detain aliens arriving at the southwest border until it determines whether they

 are carrying COVID-19. And this case does not attempt to re-litigate a case

 that Texas already won in an attempt to win additional relief that Texas forgot

 to seek the first time. Cf. ECF No. 79 at 28–29 (citing Leal v. Azar, No. 2:20-

 cv-185, 2020 WL 7672177 (N.D. Tex. Dec. 23, 2020)). And, by winning relief in

 full in Texas v. Biden, Texas ensures only that the Defendants will attempt to

 re-establish the Migrant Protection Protocols in good faith; it cannot require

 Mexico to agree to reconstitute the program on the same terms as previously


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 existed, and even if it could do so it could not bind Mexico to those terms in

 perpetuity. See Texas v. Biden, 10 F.4th 538, 557–559 (5th Cir. 2021).

    Finally, to the extent that the Court determines that there is overlap

 between Texas v. Biden and this case, see, e.g., ECF No. 79 at 52 (allowing

 Defendants to cease implementing Migrant Protection Protocols one they have

 “sufficient detention capacity to detain all aliens subject to mandatory

 detention under Section [1225]”), the proper remedy is a stay of the overlapping

 claims pending completion of that case.

 D. The Court has jurisdiction to hear the mandatory-detention
    claims.

    According to the Defendants, the Court has been stripped of jurisdiction to

 hear Texas’s mandatory-detention claims. ECF No. 79 at 31. Yet the statute it

 cites, 8 U.S.C. § 1252(f)(1), prohibits “enjoin[ing] or restrain[ing] the operation

 of” Section 1222 on a class-wide basis—that is, it “prohibits federal courts from

 granting classwide injunctive relief against the operation” of Section 1222, not

 mandating compliance with Section 1222’s mandatory language Reno v. Am.-

 Arab Anti-Discrim. Cmte., 525 U.S. 471, 481–482 (1999) (emphasis added). It

 was this exact language that Justice Thomas quoted in the passage that the

 Defendants cite—quoted to criticize the sophistry of an argument that would

 allow a class to enjoin operation of the statute by claiming it was only seeking

 to enjoin actions that exceeded the statute. Nielsen v. Preap, 139 S. Ct. 954,

 975 (2019) (Thomas., J., concurring) (cited at ECF. No. 79 at 32).

    As Judge Kaczmarek pithily put it, Section 1252(f)(1) “does not apply

 because [Texas is] not seeking to restrain Defendants from enforcing Section

 [1222]. Plaintiffs are attempting to make Defendants comply with Section

 [1222].” Texas v. Biden, 2021 WL 3603341, at *15. No more need be said.




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 E. The Court has jurisdiction to hear the Take Care claims.
    The Defendants spend little time on this argument, and for good reason.

 Their first argument, that the President’s subordinates cannot violate the Take

 Care Clause, see ECF No. 79 at 35, cannot be correct. The Constitution, after

 all, vests all executive power in the President, U.S. CONST. art. II, § 1, cl. 1;

 even the Defendants recognize that “[i]t is his responsibility to take care that

 the laws be faithfully executed.” ECF No. 79 at 35 (quoting Free Enter. Fund

 v. Pub. Co. Acctg. Oversight Bd., 561 U.S. 477, 493 (2010). “The insistence of

 the Framers upon unity in the Federal Executive—to ensure both vigor and

 accountability—is well known,” Printz v. United States, 521 U.S. 898, 922

 (1997); the upshot of this unity is that executive officials exercise their power

 only through the authority of the President. They exercise their power, that is,

 under the same duty as the President from whom that power is delegated: a

 duty to take care that they are executing the laws faithfully. See, e.g., Myers v.

 United States, 272 U.S. 52, 117 (1926) (Taft, C.J.); Texas v. United States, 2021

 WL 3683913, at *40.

    Their second argument, that no court has found a Take Care Clause claim

 justiciable, is simply wrong. See Las Americas Immigrant Advocacy Ctr. v.

 Trump, 475 F. Supp. 3d 1194, 1213 (D. Or. 2020) (Immergut, J.); Ctr. for

 Biological Diversity v. Bernhardt, 946 F.3d 553, 561 (9th Cir. 2019) (Ikuta, J.,

 joined by Tallman and R. Smith, JJ.). And their supporting citation,

 Mississippi v. Johnson, 71 U.S. 475 (1866), does not say what they think. The

 Supreme Court there both drew a distinction between mandatory duties and

 those that required the exercise of discretion, id. at 498–99, and held that it

 had no jurisdiction to accept an original petition for a writ of injunction against

 a sitting president, id. at 501.




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    Finally, the Defendants have no response to Texas’s point that “a long

 history of judicial review of illegal executive action, tracing back to England,”

 establishes that the Court’s equitable jurisdiction allows it to grant injunctive

 relief under the Take Care Clause. See ECF No. 62 at ¶ 98 (quoting Armstrong

 v. Exceptional Child Ctr., Inc., 575 U.S. 320, 327–28 (2015). The Defendants,

 after all, are as bound by the law as everyone else. Cf. Regents, 140 S. Ct. at

 1909 (“Justice Holmes famously wrote that ‘[m]en must turn square corners

 when they deal with the Government.’ Rock Island, A. & L. R. Co. v. United

 States, 254 U.S. 141, 143 (1920). But it is also true, particularly when so much

 is at stake, that ‘the Government should turn square corners in dealing with

 the people.’ St. Regis Paper Co. v. United States, 368 U.S. 208, 229 (1961)

 (Black, J., dissenting).”)

            Texas remains entitled to a preliminary injunction.

 A. The July Order was issued without required the required notice-
    and-comment period and states post-hoc justifications, not
    explanations and conclusions.

    According to the Defendants, there is no basis to question its “fully

 explained” decision in the July Order to exempt unaccompanied minor aliens

 from the Title 42 process. ECF No. 79 at 37. The July Order, they say, “make[s]

 clear that [they] acknowledged the change in [their] position,” “considered the

 relevant information,” and “in an exercise of [their] scientific and medical

 judgment,” determined that “changed circumstances support[ed]” their

 retroactive reversal. Id. at 38. Texas agrees that the face of the July Order

 makes it appear that way.

    But that appearance requires leaning around the legs of the elephant-sized

 pretext in the room. The day after the injunction preventing the use of Title 42

 procedures on unaccompanied minor aliens was lifted, the Defendants ordered


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 the Border Patrol not to put those procedures back into place. The Defendants

 skirted normal procedures to put that order into place. They did not inform the

 world of that order, instead announcing weeks later what appeared to the

 world to be a retroactive, unilateral decision to keep the now-lifted stay in

 place. When they did so, they announced that they were in the process of re-

 evaluating the procedures they had already announced they were not putting

 back into place. They refused to announce a formal proposal on which the

 public could have commented. And they waited five months—ample time for

 an agency acting in good faith to announce a proposal, accept comment on it,

 and revise the proposal to address those comments—before publishing the

 justifications for the stand-down they had decided on six months earlier. See

 generally ECF No. 68 at 10–11, 14–15, and 23–26.

    Nor does the Court need to ignore this evidence of pretext. First, the

 Defendants have not asked the Court to strike that evidence; they merely

 complain about it in a footnote. See ECF No. 79 at 39–40 fn.17. Second, Rodney

 Scott’s declaration regards specific facts and occurrences—an actual direction

 that was received, and actual question that was asked, and an actual practice

 of DHS. See ECF No. 69 at Appx. 34–41. He is not acting as an expert witness.

 Cf. 18 U.S.C. § 207(j)(6)(A); 6 C.F.R. § 5.49(a). He is specifically allowed to
 “giv[e this] testimony under oath[.]” Id. § 207(j)(6).

    As Texas has already discussed, the July and August Orders were

 substantive, rights-affecting, enactments for which there was not good cause

 to dodge the APA’s notice-and-comment requirements. See Opposition § B.

 And, again, as Texas already discussed, the foreign-affairs exception to the

 APA does not apply because the July and August Orders do not “involve the

 mechanisms through which the United States conducts relations with foreign

 states,” nor are they the product of “an agreement between the United States


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 and another country[.]” Capital Area Immigts.’ Rights Coalition v. Trump, 471

 F. Supp. 3d 25, 55 (D.D.C. 2020); see ECF No. 68 at 26. Indeed, as the

 Defendants repeatedly point out, the July and August Orders involve public

 health, not immigration. See, e.g., ECF No. 79 at 20–23, 37–41.

 B. The facts published by the Defendants themselves support the
    existence of a de facto policy of excepting family-unit members
    from Title 42.

    As Texas pointed out in its supporting brief, the sheer numbers of family-

 unit aliens released into the United States makes it all but impossible for the
 Defendants to be conducting a true case-by-case analysis of whether those

 aliens should be placed in the Title 42 process and whether they should be

 paroled into the country. ECF No. 80 at 11–14, 26–29. The Defendants’ counter

 is that Texas simply misunderstands what is actually going on: actually, they

 say, Title 42 cannot be applied to many of the aliens who are being released

 into the country, and, actually, for each of the hundreds of aliens per day who

 are arriving at the southwest border, they actually are conducting an

 individual, case-by-case analysis of whether they qualify for an exception to

 Title 42 or the statutory detention requirements. ECF No. 79 at 43–48. For

 this counter-argument, however, the defendants offer no facts.

    The Government’s support for its contentions is a brief declaration from

 David Shahoulian, DHS’s Assistant Secretary for Border and Immigration

 Policy. See ECF No. 79 at 43–44 (citing ECF. No. 80 at Appx. 203–207). This

 declaration, however, speaks only in gross, repeating many of the terms of the

 July and August Orders, id. Appx. 204–205 ¶¶ 3–6, before stating flatly that

 Title 42 simply does not apply to “[a]pproximately 80% of the non-citizen

 family-units currently being encountered along the southwest border,” id.




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 Appx. 205 ¶ 7. That conclusory statement explains little and, given its lack of

 support, is unworthy of credit:

    •   What time period is “currently”? Id. Appx. 205 ¶ 7. It wasn’t until May

        that the number of family-unit members subjected to Title 42 fell to

        roughly 20%; even a month before that, more than a third of those aliens

        were being placed into Title 42 processes. See ECF No. 68 at 12.

    •   How many aliens has Mexico refused to accept them because of their

        nationality? See ECF No. 80 at Appx. 204–205 ¶ 5.

    •   How many aliens has Mexico refused to accept them because of the ages

        of the family members? See ECF No. 80 at Appx. 204–205 ¶ 5.

    •   How many aliens are excepted because their countries require them to

        test negative for COVID? Id. at Appx. 205 ¶ 6.

    •   How many aliens are excepted because of “practical limitations on the

        acceptance of repatriation flights … that effectively prevent the[ir]

        timely expulsion”? Id.

    •   How many aliens have the Defendants removed from Title 42 through

        the totality-of-the-circumstances exception? And what was the basis for

        that exception? Id. Appx. 205 ¶ 8–9.

 The Defendants no doubt had this information available. Yet they choose,
 instead, to rest their argument on the very statistic that Texas pointed out

 supports the need for the injunction: As the number of family-unit members

 has rocketed, the number of Title 42 expulsions of those aliens has cratered.

    It is this last number that is particularly important: The Defendants have

 repeatedly claimed—and continue to claim—that they simply are not capable

 of following the mandatory-detention laws. See, e.g., ECF No. 80 at Appx. 200;

 State v. Biden, 10 F.4th 538, 558–559 (5th Cir. 2021). A “class-wide parole

 scheme that paroled aliens into the United States simply because DHS does


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 not have the detention capacity would be a violation of the narrowly prescribed

 parole scheme in section 1182 which allows parole ‘only on a case-by-case

 basis.…’” State v. Biden, 2021 WL 3603341, *22 fn. 11 (emphasis in original).

 And this is what Texas has alleged: That Defendants’ de facto policy is simply

 not to apply Title 42 to family-unit members. The Defendants’ only response is

 that they are continuing to rapidly expel some family-unit aliens. ECF No. 79

 at 44. That establishes only that there are also exceptions to the de facto policy,

 not that there is no such de facto policy in place. And without knowing why the

 family-unit aliens are being removed from Title 42—that is, without the

 information that the Defendants pointedly did not cite—the Defendants cannot

 overcome the inferences that their own whopping numbers establish.

 C. Section 1222(a) continues to mandate that the Defendants screen
    illegal aliens for COVID-19.

    Neither do the Defendants’ arguments against Section 1222(a) defeat

 Texas’s entitlement to a preliminary injunction requiring them to enforce that

 section’s mandatory requirements.

    First, the Defendants are wrong that Section 1222(a)’s language is not

 mandatory; even the case they cite acknowledges that statutory language
 mandating detention does, in fact, create a mandatory obligation to detain.

 ECF No. 79 at 47 (citing Texas v. United States, No. 21:21-40618, ___ F. 4th

 ___, 2021 WL 4188102, at *7 (5th Cir. Sept. 15, 2021) (allowing injunction to

 go into effect to the extent it prevented officials from “refus[ing] to detain aliens

 described in [8 U.S.C. §] 1226(c)(1),” which mandates detention of certain

 aliens). Texas already discussed how this is both the most natural and the

 required reading of that language. See ECF No. 68 at 27–29.

    Second, the Defendants’ reading of Section 1222(a) to apply only to “aliens

 … arriving at ports of the United States” is wrong. Section 1222(a)’s operative


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 language, which describes what the Defendants must do, is unitary, covering

 all subject aliens: The Defendants must detain subject aliens “for a sufficient

 time to enable the immigration officers and medical officers to subject such

 aliens to observation and an examination sufficient to determine whether or

 not they belong to inadmissible classes” (in this case, carriers of COVID-19). 8

 U.S.C. § 1222(a). The prefatory language describing the subject aliens,

 however, covers two separate classes. The first class is “aliens (including alien

 crewmen) arriving at ports of the United States[.]” Id. The second class is “any

 aliens” whenever the Defendants have “received information showing that

 [they] are coming from a country or have embarked at a place where” a covered

 disease such as COVID-19 is “prevalent or endemic[.]” Id. It is this second

 group—any aliens coming from a country (here, Mexico) where a covered

 disease (here, COVID-19) is prevalent or endemic—whom the Defendants are

 not properly detaining and inspecting before releasing them into the country.

    Third, the Defendants’ complaint that Texas hasn’t specified how long

 aliens should be detained to be cleared of potential COVID-19 infection is both

 irrelevant and incorrect. It is irrelevant because Section 1222(b) already

 describes how the Defendants are to treat detained aliens: They are to be

 examined by “medical officers of the United States Public Health Service,” who
 “certify, for the information of the immigration officers and the immigration

 judges,” the aliens’ medical conditions. 8 U.S.C. § 1222(b). It is incorrect

 because Texas specifically requested that the Defendants be ordered to detain

 those aliens “for a period sufficient to determine, … with the guidance of the

 Department of Health and Human Services, that those aliens are not carriers

 of” COVID-19. The Defendants, who include the Department of Health and

 Human Services, HHS’s Secretary, the CDC, and the CDC’s Director are

 certainly as aware of their own guidance as is Texas.


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 D. The harm from Texas’s injuries is irreparable, and the public
    interest favors an injunction.

    Texas has already described why the harms the Defendants’ actions are

 causing are irreparable—it cannot un-infect those who catch COVID-19; it

 cannot un-spend monies spent treating those with COVID-19; it cannot un-

 spread a virus that is brought into the country by the aliens the Defendants

 aren’t screening; it cannot un-enroll those ill with COVID who are sapping

 healthcare providers and resources that would otherwise have been available.

 See ECF 68 at 29–31. And the Defendants cannot retreat to generalized claims

 about an injury to the way they have chosen to run the immigration system:

 The detention requirements on which Texas has sued are mandatory, not

 discretionary. The requirement to include qualifying aliens in the Title 42

 procedures is mandatory, not discretionary. Removal of qualifying aliens from

 Title 42 is the exception, not the rule, as Defendants have made it.

    The duty to see that the laws are faithfully executed does not give the

 Defendants the right to decide which laws are enforced; it does not authorize

 them to dispense with enforcing the law when it believes the situation

 warrants. And “[g]iven this duty to take care that the laws are faithfully

 executed, the Constitution’s system of separation-of-powers, and the treatment

 of the dispensing power in American history and tradition, [one] is hard

 pressed … to see how the Government can suggest that the Constitution

 confers upon the Executive the ‘discretion’ to ignore clear congressional

 commands contained in Sections [1182] and [1222].” Texas v. United States,

 2021 WL 3683913, at *40. Nor does the parole power authorize a wholesale

 exemption of qualifying aliens from mandatory detention or expulsion.

 “Instead, the Executive—and thus, the [Defendants]—must exercise any

 discretion accorded to it by statute in the manner in which Congress has



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 prescribed.” Id. (citing, among others, Util. Air Reg. Grp. v. EPA, 573 U.S. 302,

 327 (2014), and Lincoln v. Vigil, 508 U.S. 182, 193 (1993)). There is simply “no

 public interest in the perpetuation of unlawful agency action,” here, disobeying

 a statutory command. League of Women Voters v. Newby, 838 F.3d 1, 12 (D.C.

 Cir. 2016). Rather, “‘the public is served when the law is followed,’ Daniels

 Health Scis., LLC v. Vascular Health Scis., LLC, 710 F.3d 579, 585 (5th Cir.

 2013), and the public will be served if the Executive Branch is enjoined from

 implementing and enforcing a policy that instructs officials to violate a

 congressional command.” Texas v. United States, 2021 WL 368913, at *60.

                               Prayer for Relief
    Texas prays that the Court deny the Defendants’ motion to dismiss. It

 further prays that the Court issue a preliminary injunction prohibiting the

 Defendants from excepting unaccompanied alien children from the Title 42

 procedures solely on their status as unaccompanied alien children; prohibiting

 the Defendants from excepting from the Title 42 procedures those family-unit

 members who meet the definition of “covered aliens” given in the October

 Order; and requiring the Defendants to detain aliens arriving on the southwest

 border for a period sufficient to determine, in accordance with the

 requirements of 8 U.S.C. § 1182 and with the guidance of the Department of
 Health and Human Services, that those aliens are not carriers of the SARS-

 CoV-2 virus.

 Dated October 11, 2021.              Respectfully submitted,
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                           Certificate of Conference
    I certify that I conferred with Brian Stoltz, counsel for the Defendants, on
 October 11, 2021, who informed me that the Defendants do not oppose this
 motion.
                                        /s/ Leif A. Olson

                          Certificate of Service
   I certify that on October 11, 2021, I filed this motion with the Court’s
 CM/ECF system, which will serve it on all counsel of record.
                                        /s/ Leif A. Olson




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